Our File No. TAR-259-CM
ATTORNEY ID - 050371991

Case 2:21-cv-15458-ES-AME

FISHMAN MCINTYRE LEVINE SAMANSKY, P.C.

120 Eagle Rock Avenue
East Hanover, New Jersey 07936
Tel: (973) 560-9000

Attorneys for Defendant, Target Corporation i/p/a Target Paramus #2381 and Target Paramus #2381

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

MINGRUI PATERNO
Plaintiff,
-V8-

TARGET CORPORATION, TARGET
PARAMUS #2381, STARBUCKS, VNO
BERGEN MALL, LLC, C/O L.
OSTAPYSHYN, URBAN EDGE

PROPERTIES, JOHN DOE 1-10, ABC CO. :

1-10, (fictitiously named) and XYZ
CORPORATIONS 1-10 (fictitiously named
construction, maintenance, repair, and/or
property management corporations)

Defendants

 

: CIVIL ACTION NO.

PETITION FOR REMOVAL

Petitioner, Target Corporation improperly plead as Target Paramus #2381 and Target

Paramus #2381., by its attorneys, Fishman Melntyre Levine Samansky, P.C., respectfully petitions

the United States District Court for the District of New Jersey as follows:

1. Based on information and belief, Target Corporation first received a copy of the

Complaint on or about July 18, 2021 through their registered agent.

2. This case was commenced on July 15, 2021 in the Superior Court of New Jersey,

Law Division, Bergen County Suit is identified in the Superior Court as Paterno, Mingrui v. Target

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Corporation, Target Paramus #2381, Docket No. L-4682-21. (See Exhibit A)

3, ‘The filing of this Petition for Removal is timely because it is filed within thirty days :
of the date Target Corporation first received notice of the lawsuit.

4, The plaintiff's Complaint in the Superior Court of New J ersey, Law Division, Bergen
County, asserts damages of a non-specified amount. Plaintiff, Mingrui Paterno, alleges the defendants
negligently and carelessly allowed a dangerous and hazardous condition to exist which caused
plaintiff to sustain injuries. As such, Target Corporation, believes the amount in controversy exceeds
$75,000, exclusive of interest and costs,

5. Target Corporation is informed and believes that Plaintiff, Mingrui Paterno, is an
individual citizen of the State of New Jersey. Defendant/petitioner, Target Corporation is incorporated
in the State of Minnesota and its principal place of business is in the State of Minnesota. The action
is therefore between citizens and a corporation of other states.

6. Accordingly, this action is removable to this Court pursuant to 28 U.S.C. § 1441.

WHEREFORE, Petitioner, Target Corporation, defendants in the action described herein,
which is currently pending in the Superior Court of the State of New Jersey, Law Division, Bergen
County, Docket No. L-4682-21, prays that this action be removed therefrom to this Court.

DATED: August 17, 2021 Target Corporation i/p/a Target Paramus #2381 and
Target Par AUS #2381

BY: ( i AX

Christopher E. McIntyre, Esq.

 

I certify that a true copy of the Complaint filed in the Superior Court of the State of New

Jersey, County of Bergen, along with a copy of the Summons issued to this defendant, is annexed
hereto as Exhibit A.
BY.

 

Shaistooher McIntyre, Esq.
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EXHIBIT A
Case go bev 15458-ES AMIE 4 Document 1 Filed 08/17/21 Page 4 of 11 PagelD: 4

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BRANDON J. BRODERICK, ESO
ATTORNEY I.D.# 009462006
BRANDON J. BRODERICK, LLC

65 East Route 4, First Floor
River Edge, New Jarsey 07661
Attorney for Plaintiff (s}
(201) 853-1505

 

MINGRUI PATERNO,.

Plaintiff (s),

TARGET CORPORATION: TARGET —
PARAMUS, #2381; STARBUCKS;
VNO BERGEN MALL, LLC, C/O 1,
OSTAPYSHYN; URBAN EDGE
PROPERTIES; JOHN DOE 1-16
(fictitiously named), ABC Co.
1-10 (fictitiously named), and
X¥Z CORPORATIONS 1-10
{fictitiously named
construction, maintenance,
repair, and/or property
management corporations),

’

Defendant {s).

 

SUPERTOR COURT
LAW DIVISION: BE

DOCKET NO. BER-

OF NEW JERSEY
RGEN COUNTY

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‘Civil Action

COMPLI
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The Plaintiff, Mingrai Paterno, residing at 4p1'~ 8th Street

in the Borough of Carlstadt, Bergen County, New Jersey, by way of

Complaint against the Defendants, says:

 
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FIRST COUNT
1. On ox about the 19th day of July 2029,
Mingrui Paterno, was lawfully on premises locat
Target/Starbucks, 900 Bergen Towne Center in
Paramus, Bergen County, New Jersey.

2. At the same time, the Defendants,’ TARGET
TARGET - PARAMUS, #2381; STARBUCKS; VNO BERGEN MAL
OSTAPYSHYN; URBAN EDGE PROPERTIES; JORN DOF 1-10
named), ABC Co. 1-10 (fictitiously named) and XYZ
1-10 (fietitiously named construction, maintenance
and/or property management corporations) were the
in control and operation of the premises.

throu

3. the Defendants,

At the same time,

adreement, or acts or omission of agent, servant,

the Plaintiff,

ad at or near

she Borough of

CORPORATION;
L, LLC, C/O b.
(fictitiously
corporations:
i repaix

Owners or were

yh arrangement,

employee, were

responsible for the construction, remodeling, maintenance, repair,

management, supervision or upkeep of the premises.

4, At the same time and place, the Defendal

and carelessly allowed a dangerous and hazardous cor

nts negligently

dition te exist

on the property or failed to warn of same which cused Plaintiff

to sustain injuries.

 

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5. AS a direct and proximate cause of |the foregoing,
Plaintiff was caused to sustain serious and permanent injuries, ;
has suffered great pain, shock and mental anguish ahd was and still
as incapacitated and will be permanently disabled] and has in the
past and will in the future be caused to expend substantial sums
of money for needed treatment. :

6. Plaintiff has complied with all conditidns precedent to

suit.

WHEREFORE, Plaintiff, Mingrui Paterno, de@mands ‘tudgment
against the Defendants, TARGET CORPORATION; TARGET ~ PARAMUS,
#2381; STARBUCKS; VNO BERGEN MALL, LLC, C/o L. OSWAPYSHYN; URBAN
EDGE PROPERTIES; John Doe 1-10 (fictitiously nampd), ABC Ce. 1-
10 (fictitiously named) and X¥2 Corporations 1-1) (fictitiously
named construction, maintenance, repair and/ox progexty management .
corporations), jointly, severally or in ‘the ajternative, for
damages, together with interest, costs of suit and attorney's fees.

SECOND COUNT

1. Plaintiff repeats and reiterates each and every
allegation contained in the First Count of the Complaint as if the
same were fully set forth herein at length.
2. Defendants negligently hired, traine@d, supervised,
and/or managed its agents, servants and/ox employees, which

negligence was a proximate cause of plaintiff's injuries.

 
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3. Defendants, through their agents r servants and/or
employees sontributed to plaintiff's injuries by failing toa
provide adequate security, to properly secutea: the subject
premises, and/or to eliminate conditions on the property that
encourage criminal or other behavior that ‘could foreseeably lead =
te bodily injury, and/or failed to warn of same.

WHEREFORE, Plaintiff, Mingrui Paterno, demands judgment
against the Defendants, TARGET CORPORATION; TARGET - PARAMUS,
#2381; STARBUCKS; VNO BERGEN MALL, LLC, C/O L. OSTAPYSHYN; URBAN
EDGE PROPERTIES; John Doe 1-10 (fictitiously named) , ABC Co. 1-
10 (fictitiously named) and XYZ Corporations 1-1|0  (fictitiously
named construction, maintenance, repair and/or property management
corporations), jointly, severally ox in the alternative, for

damages, together with interest, costs of suit and attorney's fees.

DESIGNATION OF TRIAL COUNSEL
Plaintiff hereby designates Brandon J. Broderick, Esq. as

designated trial counsel puxsuant to R.4:5~1 (c).

JURY DEMAND

Plaintiff hereby demands a trial by jury on ali issues herein.

 
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DEMAND FOR ANSWERS TO IN'TERROGATORIES |
Pursuant to Rule 4:17-1 et seq., plaintiff hdreby demands

that all defendants provide answers to Uniform Intlemregatories.

DEMAND FOR PRODUCTION OF DOCUMENTS
Demand is hereby made for the production of all documents

referred to in the following Notice to Produce.

NOTICE TO PRODUCE
Plaintiff hereby demands that all defendants provide the

following documents:

1.Clear and legible copies of any. signeh or unsigned
statements from any eyewitnesses |
to any aspect of the incident set |forth in the

Plaintiff's Complaint.

2.Clear and legible copies of all liability /expert witness
reports that the Defendant intend to,rely upon at the time
of trial.

3.AL1L photographs of the location of the incident described
in the Plaintiff's Complaint.

4.The names and addresses of all proposed witnesses for the
Defendants.

5.Aany and all videotapes of the dineident described in
Plaintiff’s complaint

 
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TIME-UNIT ARGUMENT :
Please take notice that pursuant to Rule 1:7-1, plaintiff

reserves the right to use a time-unit argument with reference to

unliquidated damages,

DEMAND TO PRESERVE EVIDENCE

All defendants are hereby directed and demanded to preserve
ali physical and electronic information pertaining in any way to
plaintif£’s employment, to plaintiff’s cause of attion and/or
prayers for relief, to any defenses to same, and pextaining to
any party, including, but not limited to, ssstsapi data
storage, closed cireyuit TV footages, digital images, computer
images, cache memory, searchable data, emails, spyead sheets,
employment files, memos, text messages and ‘any and all online
social work or related websites, entries on social networking
sites (including, but not limited to, Facebook, Twitter,
MySpace, et¢.) an any other information and/or datla and/or
things and/or documents which may be relevant to dny claim or
defense in this litigation, Failure to de ge will |resuit in

separate claims for spoliation of evidence and/or |for

appropriate adverse inferences.

 
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CERTIFICATION PURSUANT TO RULE 4:51

 

Pursuant to Rule 4:5-1, the undersigned certifies that the
matter in controversy is not the subject of any other action
pending in any Court or of a pending arbitration broceeding, nor

is any other action or arbitration proceeding contemplated.
BRANDON J, BRODERICK, LLC

Brandon J. Broderick, Esq.
Attorney: for Plpintift

 

Dated: July 7, 2021

 
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Civil Case Information Statement

 

 

(case Detailer BERGEN [ChilPart becker LomdeiaeT Tt “

Gase Caption: PATERNO MINGRUI VS TARGET Gase Typo: PERSONAL INJ URRY

CORPORATION Decumont Type; Complaint with Jury Gemand

Case initiation Date: 07/18/2021 dury Demand: YES - 6 JURQRS:

Attorney Nama: BRANDON JAMES BROQERICK Is this o profossional malpracticn exsn'? NO :
Firm Nama; BRANDON J, BRODERICK, ESQ, LLC Rolated casos pandings NO]

Addrese; 65 EAST ROUTE 4 1ST FL if yes, Ilst docket numbere:

RIVER GOGE NJ 07664 Do you anticipate adding ary partion (arising out of samo

Phone; 2018537605 transaction or accurrence)4 NO

Name of Party: PLAINTIFF : Paterno, Mingrul
Namo of Defendant's Printary Insurance Company
(if known): Sedgwick Claims

Are xoxual abuso clalms allbged by: Mingrul Paterno? NO

 

(THRE INFORMA TION FRO VIDED ON THIS FORM CANN OT REINTRODUCED INTO EVIDENCE

cate CHIARA TERIATICN FOR PURPOBES OF DETERMINING If CASE 18 APPROPRIATE F it MRDIATION
Do parties have a current, past, or recurrent relationship? NO
if yes, Is that relationship:
Does the statute governing this case provide for payment of fees by the lasing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you er your client need any disability accommedations? NO
if yes, please identify the requested accommodation:

WI! an interpreter be needed? NO
If yes, for what language:

Ploase check off each applicable category: Putative Class Action? NO Title 597 (NO. Goneumer Fraud? NO

| certify that confidential persona! identifiers have been redacted from documents
court, and will be redacted from all documents submitted in the future In accordance with Rule 1:38-7(b)

07/15/2024
Dated

 

   
